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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ABINGDON DIVISION


UNITED STATES OF AMERICA                          )
                                                  )        Case No. 1:02CR00011
                                                  )
                                                  )        OPINION
v.                                                )
                                                  )
MARIO GREENE,                                     )
                                                  )        By: James P. Jones
                Defendant.                        )        Chief United States District Judge

      R. Andrew Bassford, Assistant United States Attorney, Roanoke, Virginia, for
United States; Mario Greene, Pro Se Defendant.

        The government has objected to any reduction in sentence for this defendant,

who is eligible for such a reduction under 18 U.S.C. § 3582(c)(2) by virtue of the

lowering of the crack cocaine guidelines.1

        I will overrule the government’s objections.




        1
          This district is reported to have the fourth largest number of defendants who qualify for a
reduction in sentence under the Sentencing Commission’s policy on retroactivity. Unfortunately,
it appears that the United States Attorney for this district is objecting to reduction in every case, even
those which provide for a reduction in sentence of only a few months. While the Department of
Justice opposed the retroactivity of the amended guidelines, once the Sentencing Commission
unanimously decided on retroactivity—a decision which Congress has not overruled—a per se
objection to any reduction does not serve the public interest. For example, the court is required to
consider the public safety in determining whether to reduce a particular sentence, see USSG §
1B1.10 cmt. n.1(B)(ii) (Mar. 3, 2008), and the government’s blanket objection in all cases does not
assist the court in making that decision, and, in fact, hinders it.
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      The government’s objections may be divided into two groups. First, the

government emphasizes the conduct underlying the offense. Second, the government

points to the defendant’s criminal history.

      The guidelines provide a vehicle for consideration of conduct underlying an

offense. The defendant’s Total Offense Level takes into account the amount of crack

cocaine for which the defendant was responsible and whether the defendant possessed

a firearm during the offense. In this case, the defendant’s Base Offense Level was

enhanced by two levels because he possessed a firearm.

      With regard to the defendant’s criminal history, the guidelines also provide a

mechanism for consideration of prior convictions through calculation of a criminal

history score. In this case, the defendant’s criminal history put him in Category IV

and his guideline range was calculated accordingly. To do as the government

suggests, would doubly penalize the defendant for his criminal history. Absent any

evidence that the defendant’s criminal history category uniquely fails to reflect his

actual criminal history or danger to the public, I do not find his prior convictions to

be a bar to reduction in sentence.




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     A separate judgement will be entered.

                                             Dated: March 10, 2008

                                              /S/ JAMES P. JONES
                                             Chief United States District Judge




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